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 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
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 7    ELLIOT D. GOODIN,
                                                     NO. 2:17-CV-0347-TOR
 8                               Plaintiff,
                                                     ORDER DISMISSING PLAINTIFF’S
 9           v.                                      COMPLAINT AND DENYING
                                                     LEAVE TO AMEND
10    DR. GREGORY BAHDER,

11                               Defendant.
12

13         BEFORE THE COURT is Plaintiff’s Complaint. ECF No. 7. The Court has

14   reviewed the record and files herein, and is fully informed. For the reasons

15   discussed below, all claims asserted in Plaintiff’s Complaint (ECF No. 7) are

16   DISMISSED WITHOUT LEAVE TO AMEND.

17         Plaintiff, a patient at Eastern State Hospital, is proceeding pro se and in

18   forma pauperis. ECF No. 6. Plaintiff complains that Dr. Bahder stated he could

19   not take Plaintiff off restrictions without the treatment team present, but then let

20   Jason Goodpaster off restrictions without the treatment team. ECF No. 7 at 5.



        ORDER DISMISSING COMPLAINT & DENYING LEAVE TO AMEND ~ 1
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 1   Plaintiff argues he was discriminated against because he is African American and

 2   Native American, while Mr. Goodpaster is Caucasian. Id.

 3         Plaintiff has a pending action in this Court against Dr. Bahder, which was

 4   dismissed three times without prejudice and with leave to amend a fourth time.

 5   2:17-CV-0217-TOR, ECF No. 11. There, Plaintiff alleged that Dr. Bahder told

 6   Plaintiff “that he can’t take any[]body off restrictions without the team [there],” but

 7   took Mr. Goodpastor off restrictions without the team being present. 2:17-CV-

 8   0217-TOR, ECF No. 9 at 2.

 9         The Court finds that Plaintiff’s claims are identical to those already the

10   subject to dismissal and amendment in his previous action. 1 Plaintiff may assert

11   his claims against Dr. Bahder in a Fourth Amended Complaint in the pending case,

12   rather than initiating this new cause of action. Plaintiff, proceeding in forma

13   pauperis, is not entitled to file duplicative suits at the public’s expense. There is

14   no abuse of discretion where a district court dismisses under § 1915[ ] a complaint

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           Plaintiff also filed a Supplement to the Complaint, which is an Eastern State
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     Hospital Patient Complaint Form against Michelle an RN3 who allegedly took
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     Plaintiff’s remote time from him. ECF No. 5. The Court finds that this form is not
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     relevant, as Michelle is not a party to this action.
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         ORDER DISMISSING COMPLAINT & DENYING LEAVE TO AMEND ~ 2
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 1   “that merely repeats pending or previously litigated claims.” Cato v. United States,

 2   70 F.3d 1103, 1105 n.2 (9th Cir. 1995) (quoting Bailey v. Johnson, 846 F.2d 1019,

 3   1021 (5th Cir. 1988)). Accordingly, the Court dismisses Plaintiff’s Complaint and

 4   this case and without leave to amend.

 5         Pursuant to 28 U.S.C. § 1915(a)(3), “[a]n appeal may not be taken in forma

 6   pauperis if the trial court certifies in writing that it is not taken in good faith.” The

 7   good faith standard is an objective one, and good faith is demonstrated when an

 8   individual “seeks appellate review of any issue not frivolous.” See Coppedge v.

 9   United States, 369 U.S. 438, 445 (1962). For purposes of 28 U.S.C. § 1915, an

10   appeal is frivolous if it lacks any arguable basis in law or fact. Neitzke v. Williams,

11   490 U.S. 319, 325 (1989).

12         The Court finds that any appeal of this Order would not be taken in good

13   faith and would lack any arguable basis in law or fact. Accordingly, the Court

14   hereby revokes Plaintiff’s in forma pauperis status. If Plaintiff seeks to pursue an

15   appeal, he must pay the requisite filing fee.

16   ACCORDINGLY, IT IS HEREBY ORDERED:

17      1. The claims asserted in Plaintiff’s Complaint (ECF No. 7) are DISMISSED

18         and WITHOUT LEAVE TO AMEND.

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        ORDER DISMISSING COMPLAINT & DENYING LEAVE TO AMEND ~ 3
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 1      2. The Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that any appeal of this

 2         Order would not be taken in good faith and would lack any arguable basis in

 3         law or fact. Plaintiff’s in forma pauperis status is hereby REVOKED.

 4         The District Court Executive is directed to enter this Order, and Judgment

 5   accordingly, forward copies to Plaintiff, and CLOSE the file.

 6         DATED December 14, 2017.

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 8                                  THOMAS O. RICE
                             Chief United States District Judge
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        ORDER DISMISSING COMPLAINT & DENYING LEAVE TO AMEND ~ 4
